                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                  May 5, 2016
                              No. 10-16-00107-CV
                       IN THE INTEREST OF K.G., A CHILD
                                       
                                center-4254500
                        From the 13[th] District Court
                             Navarro County, Texas
                         Trial Court No. C15-24139-CV
                                       
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JUDGMENT

	This appeal has been considered by the Court.  Because the Court finds that it does not have jurisdiction of the appeal, it is the judgment of this Court that the appeal is dismissed.  
It is further ordered that Andrea Gehring is awarded judgment against Lance Duane Gehring for Andrea Gehring's appellate costs that were paid, if any, by Andrea Gehring; and all unpaid appellate court cost, if any, is taxed against Lance Duane Gehring.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
						By: ___________________________
							Nita Whitener, Deputy Clerk
1294561794024300
